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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §           Case No. 4:07cr42
                                                   §           (Judge Schell)
 ADAM RAY WATTS (34)                               §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on May 20, 2014, to determine whether Defendant violated his supervised

 release.

        On December 18, 2007, Defendant was sentenced by the Honorable Richard A. Schell to

 sixty-five (65) months' incarceration followed by five (5) years of supervised release for the offense

 of Conspiracy to Possess with Intent to Distribute Heroin. On January 28, 2013, Defendant’s

 supervised released was revoked and he was sentenced to eighteen (18) months’ custody followed by

 an additional thirty-six (36) months of supervised release. On November 8, 2013, Defendant

 completed his second period of imprisonment and began service of his supervised term.

        On April 10, 2014, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated various mandatory, standard, and

 special conditions.

        The petition alleges that Defendant committed the following acts: Defendant submitted urine

 specimens that tested positive for methamphetamine on January 6, 2014, January 15, 2014, January

 27, 2014, and March 11, 2014.

        Prior to the Government putting on its case, Defendant entered a plea of true to allegations
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     one and two. Based upon the plea of true, the Government dismissed allegations three and four. The

     Court recommends that Defendant’s supervised release be revoked.

                                         RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release.

     Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

     to the custody of the Bureau of Prisons to be imprisoned for a term of ten (10) months with no

     supervised release to follow. It is also recommended that Defendant be housed in the Bureau of

     Prisons, Seagoville Unit.
.
            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 22nd day of May, 2014.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
